












Dismissed and Memorandum Opinion filed May 27, 2010.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-09-00903-CV

____________

&nbsp;

O P INVESTMENTS, L.L.C., Appellant

&nbsp;

V.

&nbsp;

KATHLENE LAU, INDIVIDUALLY, ROY TJINKAWIE,
INDIVIDUALLY, AND DE RISING SUN CORPORATION, Appellees

&nbsp;



&nbsp;

On Appeal from the 269th District Court

Harris County, Texas

Trial Court Cause No. 2007-35341

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp; &nbsp;O P I N I O N

This appeal is from a judgment signed September 21, 2009.&nbsp; No
clerk=s record has been filed.&nbsp; The clerk
responsible for preparing the record in this appeal informed the court
appellant did not make arrangements to pay for the record.&nbsp; 

On April 23, 2010, notification was transmitted to all
parties of the court's intention to dismiss the appeal for want of prosecution
unless, within fifteen days, appellant paid or made arrangements to pay for the
record and provided this court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b).

Appellant has not provided this court with proof of payment
for the record. Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Justices
Brown, Sullivan, and Christopher. 

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